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              EXHIBIT F
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                    DECLARATION OF OSVALDO E. CARO-CRUZ, ESQ.

       I, Osvaldo E. Caro-Cruz, declare under penalty of perjury pursuant to 28 U.S.C. § 1746
that the following is true and correct to the best of my knowledge:

   1. My name is Osvaldo E. Caro-Cruz. I am an Immigration Attorney representing JABV in
       his removal proceedings. I first entered my appearance in this case on October 29, 2024.

   2. JABV is a Venezuelan national who was born on January 5, 2001, in Guanare, Venezuela.
       He lived there until he fled due to political persecution by the Maduro regime. He was an
       active supporter of opposition leader Maria Corina Machado and was persecuted for his
       political activism.

   3. In January 2024, while participating in a peaceful campaign activity distributing materials
       in support of the opposition, he was violently abducted by masked men affiliated with the
       Venezuelan government. He was thrown into a black SUV and beaten severely. His
       captors threatened him, stating, "Today we spare your life, but if you campaign again,
       there will be no forgiveness next time."

   4. He was taken to the Los Proceres police center, where he was detained for over four days.
       During this time, he was tortured, deprived of food, and physically assaulted by
       Venezuelan authorities and pro-government colectivos. His captors repeatedly told him
       he was a "traitor to the homeland" and that if he was found again, he would be executed.

   5. I have obtained video evidence showing Venezuelan police raiding his home, confirming
       that he was being actively persecuted by the Maduro regime due to his political
       opposition. His removal places him at imminent risk of harm, including detention,
       torture, or death at the hands of Venezuelan authorities.

   6. Fearing for his life, JABV fled Venezuela on February 12, 2024. He traveled through
       Colombia, the Darien Gap, and several Central American countries before reaching
       Mexico, where he applied for entry to the United States through the CBP One
       application. He did not seek asylum in any other country due to their alliances with the
       Maduro regime, fearing deportation back to Venezuela.
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7. His Notice to Appear (NTA) states he applied for admission in the US at San Ysidro, CA,
   on August 3, 2024, using the CBP One app.

8. His Record of Deportable/Inadmissible Alien (Form I-213) states he had no prior criminal
   history in the US, that he was a citizen of Venezuela, and that he was fleeing the country
   because he feared for his life. The same document states: "Subject has gang-related
   tattoos which were photographed by CBPO Clesi. The tattoos are well-known tattoos that
   Tren de Aragua gang members tend to have. Subject denied being part of Tren de Aragua
   or any other gang."

9. The allegation that JABV was affiliated with the Tren de Aragua gang is entirely
   speculative and unsubstantiated. DHS never provided any evidence of his involvement
   with el Tren de Aragua, or any other gang.

10. His tattoos are a Rose, a Clock and a Crown with his son's name on it. These are common
   in Venezuela and bear no exclusive association with gang affiliation.

11. As his attorney, I did my due diligence regarding his past, JABV has never been arrested,
   charged, or convicted of any crime in Venezuela or the United States.

12. On November 7, 2024, I filed a Form I-589, Application for Asylum, Withholding of
   Removal, and Protection under the Convention Against Torture on behalf of JABV. His
   asylum claim is based on the previous events and his well-founded fear of persecution
   due to his political opposition to the Venezuelan government.

13. Because JABV was in expedited removal, he was detained while his case was pending
   before the Immigration Court. His individual hearing was scheduled for April 7, 2025, at
   1:00 PM before Honorable Judge Francis Mwangi in the Jena Immigration Court. Even
   though he was frustrated with the fact that he was detained, he understood, and was
   patiently waiting for his day in court in order to present his case.

14. On March 16, 2025, while trying to schedule several Virtual Meetings with the El Valle
   Detention Center, I learned that JABV had been removed from the United States without
   any notice to me, his attorney on record, or to his family. Despite multiple inquiries to
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       ICE and DHS, I have not received any information regarding his current location or the
       country to which he was deported.

   15. On March 18th, I received confirmation from ICE that JABV was in fact removed from
       the Country on or about midday 3/15/2025, but had no information regarding his current
       whereabouts.

   16. According to pictures and flight plans made public through social media, that is the exact
       same day and time a plane carrying various immigrants was sent to El Salvador. This
       makes me believe that he is currently being detained there. His brother states he
       recognized him in the videos published by El Salvador president, Nayib Bukele.

   17. It is important to emphasize that JABV had NO removal order at the time of his removal
       from the United States, and even as of today, he still has no removal order in Immigration
       Court.

   18. JABV was abruptly transferred multiple times before his removal. Initially detained in
       Jena, Louisiana, he was transferred to El Valle Detention Facility in Texas without
       explanation. There were no formal notices provided to me as his attorney, and at no point
       was he advised of the reasons for these transfers. He was not given any documentation
       explaining the moves, nor was he allowed to contest them.

   19. As of the time of writing this declaration, I have not been informed about the exact
       circumstances of my client’s removal, where he has been sent, or whether any further
       action can be taken to rectify this situation.

       I, Osvaldo E. Caro-Cruz, affirm under penalty of perjury that the foregoing is true and
correct to the best of my knowledge.




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                                                                                          Cruz,  sq.
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                                                                                 Dated: 3/19/2025
